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                   12
                                                    UNITED STATES DISTRICT COURT
                   13
                                                   NORTHERN DISTRICT OF CALIFORNIA
                   14
                                                            OAKLAND DIVISION
                   15

                   16
                         In re Google RTB Consumer Privacy              Master File No. 4:21-cv-02155-YGR-VKD
                   17    Litigation,
                                                                        [PROPOSED] ORDER RE GOOGLE’S
                   18                                                   RESPONSE TO PLAINTIFFS’
                                                                        ADMINISTRATIVE MOTION TO CONSIDER
                   19    This Document Relates to: all actions          WHETHER ANOTHER PARTY’S MATERIALS
                                                                        SHOULD BE SEALED (ECF NO. 696)
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COOLEY LLP
ATTORNEYS AT LAW                                                                     [PROPOSED] ORDER RE GOOGLE’S
 SAN FRANCISCO                                                                RESPONSE TO PLAINTIFFS’ ADMIN. MOTION
                                                                                   CASE NO. 4:21-CV-02155-YGR-VKD
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                    1           Google LLC filed a Response (“Google’s Response”) to Plaintiffs’ Administrative Motion
                    2    to Consider Whether Another Party’s Materials Should Be Sealed (ECF No. 696), which was filed
                    3    in connection with Plaintiffs’ Motion for Contempt and Spoliation Sanctions Re Named Plaintiffs
                    4    Data (“Plaintiffs’ Motion”) (ECF No. 697), the Declaration of Jonathan K. Levine in support of
                    5    Plaintiffs’ Motion (“Levine Declaration”) (ECF No. 697-1), the accompanying Exhibit A to the
                    6    Levine Declaration (ECF No. 697-2), and the Proposed Order Granting Plaintiffs’ Motion
                    7    (“Plaintiffs’ Proposed Order”) (ECF No. 697-3).
                    8           Upon consideration of Google’s Response, the papers submitted in support, and good cause
                    9    appearing, IT IS HEREBY ORDERED that documents are to be sealed as follows:
                   10                          Document                  Portions to be filed Under Seal
                   11                Plaintiffs’   Motion      for   Portions highlighted at PDF pages 2, 6-8,
                                     Contempt and Spoliation         10-17, 19-20, 22
                   12                Sanctions     Re     Named
                                     Plaintiffs Data (“Plaintiffs’
                   13                Motion”) (ECF No. 696-4)
                                     Declaration of Jonathan K.      Portions highlighted at PDF pages 2-5
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                                     Levine in support of
                   15                Plaintiffs’ Motion (“Levine
                                     Declaration”) (ECF No.
                   16                696-5)
                                     Exhibit A to the Levine     Portions highlighted at transcript pages
                   17                Declaration    (ECF      No.12:1-3; 12:7-10; 12:20–13:10; 13:12;
                                     696-6)                      13:16 –25, 15:1-6, 15:9-16; 89:4; 90:1-3;
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                                                                 223:4; 223:8; 223:11, 223:12; 223:16-17;
                   19                                            223:23; 224:2-3; 224:17; 224:24; 225:1;
                                                                 225:4-5; 225:11; 225:14; 225:17-18;
                   20                                            225:23; 225:24-25; 226:6; 226:8;
                                                                 226:18; 226:22; 237:9-10; 238:1; 238:6;
                   21                                            238:11; 238:13-15
                   22                Plaintiffs’ Proposed Order Portions highlighted at PDF pages 2-6
                                     Granting Plaintiffs’ Motion
                   23                (ECF No. 696-7)

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                   26    Dated: _________________
                                                                           Hon. Virginia K. DeMarchi
                   27                                                      UNITED STATES MAGISTRATE JUDGE
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ATTORNEYS AT LAW                                                                           [PROPOSED] ORDER RE GOOGLE’S
 SAN FRANCISCO                                                             2        RESPONSE TO PLAINTIFFS’ ADMIN. MOTION
                                                                                         CASE NO. 4:21-CV-02155-YGR-VKD
